









Dismissed and Memorandum Opinion filed March 2, 2006









Dismissed and Memorandum Opinion filed March 2, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00033-CV

____________

&nbsp;

JAMES E. MCDOW,
Appellant

&nbsp;

V.

&nbsp;

WANDA F. MCDOW,
Appellee

&nbsp;



&nbsp;

On Appeal from County Court
at Law No. 3

Galveston County,
Texas

Trial Court Cause No.
05FD1027

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a
judgment signed November 17, 2005.&nbsp; No
motion for new trial was filed.&nbsp; Appellant=s notice of appeal
was filed January 6, 2006.

The notice of appeal must be filed within
thirty days after the judgment is signed when appellant has not filed a timely
motion for new trial, motion to modify the judgment, motion to reinstate, or
request for findings of fact and conclusions of law.&nbsp; See Tex.
R. App. P. 26.1








Appellant=s notice of appeal
was not filed timely. A motion for extension of time is necessarily implied
when an appellant, acting in good faith, files a notice of appeal beyond the
time allowed by rule 26.1, but within the fifteen-day grace period provided by
Rule 26.3 for filing a motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d
615, 617-18 9 (1997) (construing the predecessor to Rule 26).&nbsp; However, the appellant must offer a
reasonable explanation for failing to file the notice of appeal in a timely
manner.&nbsp; See Tex. R. App. P. 26.3, 10.5(b)(1)(C); Verburgt,
959 S.W.2d at 617-18.&nbsp; Appellant=s notice of appeal
was not filed within the fifteen-day period provided by rule 26.3

On January 30, 2006, notification was
transmitted to all parties of the Court=s intent to
dismiss the appeal for want of jurisdiction.&nbsp;
See Tex. R. App. P. 42.3(a).&nbsp; Appellant=s response fails
to demonstrate that this Court has jurisdiction to entertain the appeal.

Accordingly, the appeal is ordered
dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment
rendered and Memorandum Opinion filed March 2, 2006.

Panel consists
of Justices Hudson, Fowler, and Seymore.





